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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


       UNITED STATES OF AMERICA,
                         Plaintiff,
                                             HONORABLE AVERN COHN
             v.
                                             No. 07-20156
       NADA NADIM PROUTY,
                      Defendant.
       _____________________________/


                                SENTENCING HEARING
                              Tuesday, May 13, 2008
       Appearances:
       Kenneth R. Chadwell                   Thomas W. Cranmer
       U.S. Attorney's Office                Miller Canfield
       211 W. Fort Street, #2300             840 W. Long Lake Road, #200
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       (313) 226-9100                        (248) 879-2001
         On behalf of Plaintiff
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                                             Washington, D.C. 20006
                                             (202) 663-6606
                                               On behalf of Defendant
                                    -   -   -
                  To obtain a certified transcript, contact:
                    Sheri K. Ward, Official Court Reporter
                   Theodore Levin United States Courthouse
                    231 West Lafayette Boulevard, Room 219
                            Detroit, Michigan 48226
                     (313)965-4401 • sward@fedreporter.com
               Proceedings recorded by mechanical stenography.
            Transcript produced by computer-aided transcription.
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 1                                       Detroit, Michigan
 2                                       Tuesday, May 13, 2008
 3                                       3:02 p.m.
 4                                  -    -    -
 5                THE CLERK:     Now calling Case Number 07-20156,
 6     Defendant Number 1, United States of America v. Nada Nadim
 7     Prouty.
 8                Will counsel please identify themselves for the
 9     record.
10                MR. CHADWELL:     Good afternoon, Your Honor,
11     Kenneth Chadwell appearing on behalf of the United States.
12                MR. CRANMER:     Your Honor, good afternoon.
13     Tom Cranmer and Howard Shapiro appearing on behalf of
14     Ms. Prouty.
15                THE COURT:     Thank you.
16                Ms. Prouty, you are here on your plea of guilty to
17     three charges:    Conspiracy to defraud the United States,
18     unauthorized computer access, and naturalization fraud.
19                THE DEFENDANT:     Yes, Your Honor.
20                THE COURT:     I have received a presentence report,
21     which recommends a guideline range of 10 to 16 months based
22     on an Offense Level of 10 and a Criminal History Category of
23     I.   Your Rule 11 agreement calls for a guideline range of
24     6 to 12 months based on an Offense Level of 10 and a
25     Criminal History Category of I.        I find that the Rule 11


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 1     agreement properly states the guideline range.
 2                Now, are there any objections, additions or
 3     deletions to the presentence report?
 4                MR. CRANMER:     No, Your Honor.    We had submitted
 5     some objections, and I believe those were already dealt with
 6     by the Probation Department and we have nothing further to
 7     add.   Thank you.
 8                THE COURT:     Thank you.
 9                MR. CHADWELL:     The government has no objections as
10     well, Your Honor.
11                THE COURT:     Parenthetically, I note that you have
12     waived the statute of limitations to the offenses to which
13     you have pled guilty, and I am to sign as part of this a
14     Judicial Order of Removal to Lebanon and concurrent Grant of
15     Withholding of Removal to Lebanon, which I'm going to do
16     now.
17                MR. CHADWELL:     Your Honor, actually you need to
18     sign the other order prior to that one.
19                THE COURT:     I'll tell you, I'll sign this one
20     first, then the other order second, but then I'll put the
21     second order on top of the first one.        How is that?
22                MR. CHADWELL:     That's fine.
23                THE COURT:     And no one will ever know which order
24     I signed them in.
25                MR. CHADWELL:     Right.


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 1                 THE COURT:    That's how you acknowledge that.        And
 2     I will put a little number 1 here and a little number 2 here
 3     so there is no dispute that I signed them in the proper
 4     sequence.
 5                 MR. CHADWELL:    Thank you, Your Honor.
 6                 THE COURT:    Okay.    I have received from your
 7     lawyer a comprehensive sentencing memorandum, which is part
 8     of the public record, and also an appendix of letters to me
 9     from relatives, friends and fellow workers.         These letters
10     are not part of the public record, and I deem them as
11     personal communications to me because of some of the matters
12     that are contained therein.
13                 As to the sentencing memorandum, I urge those in
14     the courtroom who may want to comment on the proceeding to
15     read it.    I'm going to put a copy on the clerk's desk.
16                 Now, you have a right to address the Court, as
17     does your lawyer and the government.        I suggest that if any
18     of you address the Court, you do not repeat what was said in
19     the sentencing memorandum.        I have read it.
20                 Ms. Prouty?
21                 THE DEFENDANT:    Yes, sir.    First I want to
22     thank you for giving me the opportunity to address the Court
23     today, and what I want to say is when I was a
24     nineteen-year-old student I foolishly decided to enter into
25     a fraudulent marriage in order to become a United States


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 1     citizen.   I could have, and I certainly should have, sought
 2     to become a citizen in the proper way.        I accept full
 3     responsibility for my error in judgment, and I am very sorry
 4     for my mistake.
 5                Nevertheless, sir, as I hope you can see from the
 6     letters of support and other documents submitted to
 7     Your Honor, I served this country well as an FBI agent and a
 8     CIA operations officer.      On numerous occasions I put my life
 9     on the line overseas in order to protect our interests here
10     at home.
11                I admit that I made mistakes, and I should
12     appropriately be punished for those mistakes.         However, I
13     need to reiterate that I am not, and have never been,
14     disloyal to the United States in any way, shape or form.
15                I respectfully ask this Court to consider my
16     dedicated service, the unfounded and unfair nature of the
17     more serious allegation against me, and the losses that my
18     family and I have already suffered in deciding whatever is a
19     just and fair sentence.      Thank you.
20                THE COURT:     Do either you, Mr. Shapiro, or you,
21     Mr. Cranmer, want to say anything?
22                MR. SHAPIRO:     Yes, Your Honor, if you will just
23     allow me a couple of minutes on behalf of Ms. Prouty.
24                Your Honor, as you have heard, Ms. Prouty comes to
25     sentencing deeply remorseful and sincerely sorry for her


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 1     actions, and as we have detailed and as I know Your Honor
 2     has read carefully in the sentencing memorandum, Ms. Prouty
 3     was just a nineteen-year-old student when she broke the law
 4     in obtaining her permanent residency.        We have provided some
 5     of the facts about Ms. Prouty's upbringing and background,
 6     not to excuse her behavior, but to place it in context and
 7     to better explain it.
 8                What she did and what she pleads guilty to are, of
 9     course, crimes, but how she has been portrayed in the press
10     and the public opinion is simply not accurate.            While an FBI
11     agent and a CIA operations officer Ms. Prouty's service to
12     the United States was dedicated and loyal, and as you can
13     see from the countless letters of support and commendations,
14     Ms. Prouty was an extraordinary asset to this country's
15     counter-terrorism efforts.
16                Although the specific details of her contributions
17     cannot be made public and cannot be disclosed because of
18     national security concerns, we have submitted to you
19     firsthand accounts from some 24 fellow FBI and CIA officers
20     who served alongside her.      Many details, of course, were
21     redacted, but I'm sure Your Honor got the flavor of them.
22                It is important to emphasize that Ms. Prouty's
23     violations in no way evidenced disloyalty or a threat to the
24     United States.    To the contrary, as these testimonials show,
25     and as shown in her repeated polygraphs, both before and


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 1     after her guilty plea, she has always been and she remains
 2     loyal to her adopted country.       Her record of service to the
 3     United States speaks volumes about her character.
 4                And, to quote just one of the letters, this is
 5     from CIA Officer Number 13 that appears behind Tab 21,
 6     Your Honor, and as he said or she:
 7                "Ms. Prouty's actions and bravery on the
 8                most dangerous front lines of the War on
 9                Terrorism make a valuable contribution
10                in protecting the lives of our men and
11                women in uniform as well as civilians at
12                home and abroad.     Given Ms. Prouty's
13                repeated sacrifices and assumptions of
14                great personal risk to her safety in the
15                name of the United States, it is
16                impossible to believe she would ever act
17                against the United States or in any way
18                which would harm the federal
19                institutions which she served.       Her
20                service to her country, community, and
21                moral standing are beyond reproach."
22     Your Honor, we respectfully request that you take both her
23     exemplary service and indeed the severe penalty that she has
24     already paid through loss of her citizenship into account in
25     fashioning your sentence.


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 1                Thank you, Your Honor.
 2                THE COURT:    Thank you.
 3                Mr. Chadwell.
 4                MR. CHADWELL:     Your Honor, as stated in the plea
 5     agreement, we do not object to any sentence within Zone B of
 6     the sentencing guideline range.       I just want to make that
 7     clear up front.     We ask that you accept the Rule 11 plea
 8     agreement, that you limit your sentence to no more than
 9     nine months, and that you follow all of the provisions in
10     the plea agreement.
11                I just want to respond briefly, too, to the
12     sentencing memorandum.      I think the defense did state
13     accurately in the memorandum that both parties agree that
14     Ms. Prouty does not have to be incarcerated.         That was
15     pretty clear after the plea agreement was written.
16     Certainly Zone B gives a wide range of options the Court
17     could do short of actual imprisonment, and the government,
18     therefore, is not asking for that.
19                However, this case should be taken very seriously.
20     It is a very serious case.      A lot of people come to the
21     United States the right way, work long hours in underserved
22     areas and everything else to get their citizenship.
23     Ms. Prouty did not do that, and having not done that, she
24     had this deep, dark secret in her past.
25                She then joined the country's two intelligence


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 1      agencies, the FBI and the CIA.      She defrauded them into
 2      hiring her.   They would have never hired her had they known
 3      her background.
 4                 She repeatedly signed forms saying she didn't have
 5      a deep, dark secret, and having a deep, dark secret is a
 6      very serious national security risk because if a foreign
 7      intelligence service finds out about your deep, dark secret
 8      and comes to you and says you have to do X, Y, Z or we are
 9      going to reveal this, that's a big problem.        Now, I'm not
10      saying Ms. Prouty did that or a foreign intelligence service
11      learned of that, but this is why it is very, very important
12      for the intelligence agencies, first of all, to ferret these
13      things out before they get this far long and also that
14      people not be in the intelligence services who have this
15      type of a background and this type of vulnerability to the
16      United States.
17                 Thank you, Your Honor.
18                 THE COURT:    I should mention before I go ahead
19      that there is also a performance evaluation that I have
20      received from the CIA in redacted form which should be part
21      of the public record and should be made available to anyone
22      who wants to read it, so I will put that at the table.
23                 What I intend to do now is impose the sentence and
24      then state my reasons.     I sentence you as follows:
25                 You are to pay a $750 fine as well as a special


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 1      assessment of $225.
 2                 If you would like to sit down now, it will take me
 3      about five minutes to read this.
 4                 MR. SHAPIRO:    Thank you, Your Honor.
 5                 MR. CRANMER:    Thank you, Your Honor.
 6                 THE COURT:     My job in sentencing is to consider
 7      the factors of 18 U.S.C. 3553(a) and impose a sentence
 8      sufficient, but not greater than necessary, to serve the
 9      purposes of sentencing as enumerated in the statute.           I must
10      also consider that there exists aggravating or mitigating
11      circumstances of a kind or degree not adequately taken into
12      consideration by the Sentencing Commission in promulgating
13      the guidelines.
14                 In considering your sentence, I have taken into
15      consideration the recommended guideline range.           I have also
16      looked at your age, marital status, employment record,
17      family ties, criminal history, socioeconomic status,
18      education and vocational skills, as well as the other
19      matters required by the statute.
20                 This is a highly unique situation.       The essential
21      offense which you committed was marriage fraud.          You engaged
22      in a sham marriage to obtain citizenship and to avoid having
23      to return to Lebanon.     Your desire not to return to Lebanon
24      given consideration to the conditions which existed there in
25      the late 1990's, I'm sorry, in the early 1990's is


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 1      understandable.
 2                 You also improperly accessed a computer available
 3      to you at your work station.      As to that offense, you did
 4      not print out anything, nor did you tell anyone what you
 5      read.
 6                 The personal circumstances, as noted, that led to
 7      the sham marriage occurred almost 20 years ago.          Since that
 8      time you have rendered extraordinary services to the
 9      United States as an agent of the FBI and in the employ of
10      the CIA.   At no time did you ever compromise or jeopardize
11      the integrity of any work assignment to improper behavior or
12      inappropriate conduct.     I have received a letter from the
13      CIA, which reads:
14                 "This letter is to inform you that the CIA
15                 conducted a debriefing of Nada Prouty, which began
16                 on 28 January 2008.     It included a polygraph
17                 interview.    Ms. Prouty was fully cooperative
18                 during those processes.      The agency did not
19                 identify any information that Ms. Prouty
20                 cooperated or engaged in unauthorized contact with
21                 a foreign intelligence service or terrorist
22                 organization."
23                 As a citizen you served your country honorably and
24      effectively and at times in situations which exposed you to
25      personal danger.    One of your colleagues, now retired, has


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 1      written me as follows:
 2                       "Let me offer some personal observations
 3                 about Ms. Prouty that rest on direct experience,
 4                 not speculation.     Ms. Prouty worked for me in
 5                 Baghdad during the second half of 2003 where I was
 6                 serving as the senior intelligence official in
 7                 Iraq.
 8                       "Those were bad days.     The insurgency was
 9                 spreading throughout the country.       Violence was
10                 spiraling upwards.     The leadership in the
11                 Whitehouse and the Department of Defense were
12                 dismissing the obvious trends as insignificant.
13                 We were understaffed and undersupported, yet the
14                 mission was all the more critical.
15                       "While many officers in the CIA were
16                 unwilling to serve in this deteriorating,
17                 high-risk and thankless endeavor, Ms. Pouty did
18                 not waiver.    She arrived ready to work.       She was
19                 relentless and provided critical operational
20                 information.
21                       "It was a dynamic and unpredictable
22                 environment.    Ms. Prouty was in the streets.         She
23                 was one of the few Arabic speakers I had in the
24                 country, and as a consequence, she was always in
25                 demand.   Ms. Prouty's hours were endless, yet


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 1                 she never hesitated to take up a task despite a
 2                 personal risk.    Through it all she exhibited
 3                 exemplary professionalism."
 4                 The media accounts of your case, perhaps prompted
 5      by the excessiveness of the press releases issued by the
 6      United States Attorney's Office, have grossly distorted the
 7      circumstances of your case, even taking into consideration
 8      the statement of the Assistant United States Attorney.
 9                 You and your family have suffered, and will
10      continue to suffer, as a result of an error in judgment made
11      19 years ago, including loss of citizenship and loss of
12      employment.   In consideration of the foregoing reasons, and
13      particularly the exemplary services you have rendered to our
14      country, I have imposed the sentence recited above.           It is
15      sufficient punishment in light of the totality of the
16      circumstances attendant upon your guilty plea.           It is
17      sufficient but not greater than necessary.
18                 Thank you.
19                 MR. CRANMER:    Thank you, Your Honor.
20                 THE CLERK:     All rise.   Court is in recess.
21           (Proceedings concluded at 3:19 p.m.)
22                                   -   -    -
23                          C E R T I F I C A T I O N
24                  I, Sheri K. Ward, official court reporter for the
25        United States District Court, Eastern District of


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 1        Michigan, Southern Division, appointed pursuant to the
 2        provisions of Title 28, United States Code, Section 753,
 3        do hereby certify that the foregoing is a correct
 4        transcript of the proceedings in the above-entitled cause
 5        on the date hereinbefore set forth.
 6                  I do further certify that the foregoing
 7        transcript has been prepared by me or under my direction.
 8
 9
        _______________________                   May 16, 2008
10      Sheri K. Ward                             Date Completed
        Official Court Reporter
11
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